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LITE DEPALMA GREENBERG & RIVAS, LLC

Allyn Z. Lite (AL-6774) mm
Michael Patunas (MP-2306)

Two Gateway Center, 12th Floor mae Ade

Newark, NJ 07102-5003 o fe

(973) 623-3000 :

Attomeys for Plaintiff

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
-)
OLM ASSOCIATES, INC., on behalf of itself and all) Civil Action No. J Y- 47 FY
others similarly situated, } %y |
) CF S7 f
Plaintiffs, ) CLASS ACTION
) COMPLAINT
v. )
)
MARSH & MCLENNAN COMPANIES, INC., ) JURY TRIAL DEMANDED
MARSH INC., MARSH USA INC,, and SEABURY &
SMITH, INC. d/b/a MARSH ADVANTAGE )
AMERICA, )
)
Defendants. __)

 

Plaintiff, QLM Associates, Inc. (“Plaintiff’), with office at 470 Wall Street, Princeton, NJ
08540, individually and on behalf of all others similarly situated, by its undersigned attorneys,
alleges the following facts and claims upon knowledge as to matters relating to itself, and upon
- aformation and belief as to all other matters, based upon, mer alia, the investigation conducted
by and through its attorneys, which included among other things, a review of publicly available
information, including information obtained by the Attorney General of the State of New York
and set forth in a complaint, dated October 14, 2004, on behalf of the People of the State of New

York against Marsh & McLennan Companies, Inc. and Marsh, Inc.

 
 

 

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INTRODUCTION

1. This is a class action against defendants Marsh & McLennan Companies, Inc.
(“MMC”), Marsh Lne., Marsh USA Inc. (“Marsh USA”), and Seabury & Smith, Inc. d/b/a Marsh
Advantage America (“Marsh Advantage”) (together, “Marsh”) for injunctive relief and damages,
brought by Plaintiff, on behalf of itself and a Class (defined below), which have retained Marsh
as their insurance broker during the Class Period (defined below).

2. Marsh is a global provider of insurance brokering services that has engaged and
continues to engage in systematic fraud, anti-competitive conduct, restraint of trade, and a course
of unfair, deceptive and wrongful conduct upon its clients, Plaintiff and the Class. Through its
marketing and brokerage scheme, Marsh holds itself out to the public and its clients as an
independent, experienced and trusted expert in risk exposure analysis and in the negotiation and
placement of insurance. Marsh’s clients retain Marsh to provide them with unbiased guidance
and obtain for them the best insurance coverage in terms of service, coverage, and price. Marsh
also holds itself out as a zealous and loyal advocate for its clients who will represent their
interests in obtaining insurance policies.

3, As an insurance broker, Marsh is in fact legally bound to abide by its fiduciary
obligations and duties of loyalty to its clients, to exercise good faith in performing its services,
and to act in accordance with its clients’ best interests. lt is with this expertise and fiduciary
brokering advice and services that Plaintiff and the other Class members retained Marsh. Indeed,

Marsh has claimed, “We are our clients’ advocates, and we represent them in negotiations. We

 
 

 

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don’t represent the [insurance companies].” NYAG Compl. f 6.' Marsh has also stated: “Our
guiding principle is to consider our clients’ best interest in all placements.” NYAG Compl. 7 19.

4. In truth, Marsh’s “guiding principle” has been to advance its own interests at its
clients’ expense. Unbeknownst to Plaintiff and the other Class members, Marsh breached its
duties to them, deceived them, willfully acted against their interests and wrongfully enriched
itself to their detriment.

5. While purporting to provide independent and unbiased brokering services to
them, Marsh failed and still fails to adequately disclose that it has entered into separate fee
agreements, known as Placement Service Agreements, Market Services Agreements or
Contingent Fee Agreements (“Contingent Fee Agreements”) with certain insurance carriers.
Through these Contingent Fee Agreements, Marsh receives kickback payments from insurance
cartiers as a reward for steering business to those carriers (“Contingent Fees” or “Kickbacks”).
Marsh has also designed and implemented an elaborate and secret bid rigging scheme (the “Bid
Rigging Scheme”) to maximize its own Contingent Fees to the detriment of its clients. As one
Marsh executive stated to his subordinates, the size of the contingent commission payments to
Marsh determined “who [we] are steering business to and who we are steering business from.”
NYAG Compl. {8.

6. Rather than providing unbiased and independent brokering services to Plaintiff
and the other Class members, Marsh caused them to purchase insurance from carriers to
maximize its own Contingent Fees. By failing to adequately disclose the Contingent Fee

Agreements and its Kickbacks and causing Plaintiff and the Class to obtain insurance from these

 

1 References to “NYAG Compl, §__” are to the complaint filed by the Office of the Auomey General of the State of
New York on behalf of The People of the State of New York against Marsh & McLennan Company and Marsh, Inc.,
dated October 14, 2004, filed in the Supreme Court for the State of New York, County of New York.

 
 

 

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insurance carriers, Marsh has been able to reap hundreds of millions of dollars at the expense of
clients. Marsh continues to pocket these under-the-table payments and Kickbacks at Plaintiff s
and the other Class members’ expense.”

7. As part of its Bid Rigging Scheme, Marsh solicited and obtained fictitious high
quotes from insurance companies to deceive its own clients into the belief that true market
competition had occurred. In order to effectuate its Bid Rigging Scheme and to maximize the
Contingent Fees it received, Marsh also promised to protect certain insurance companies from
competition, and did so — and threatened to hurt the business of other insurance carriers that
truly thought of competing for particular pieces of business.

8. Marsh’s anti-competitive tactics have brought it tremendous revenue which it has
attempted to keep secret. In 2003 alone, Marsh earned approximately $800 million from
contingent commission payments. That year, Marsh reported approximately $1.5 billion in net
income. Through its Contingent Fee Agreements, Bid Rigging Scheme, and threats, Marsh has
corrupted the marketplace for insurance brokerage services, restrained competition and
artificially inflated the price of insurance for Plaintiff and the Class. Plaintiff and the Class,
rather than benefit from a truly competitive market for brokerage services and Marsh’s supposed
advocacy on their behalf, have paid and continue to pay more for less coverage than would be

available in a truly competitive market.

 

2 On October 18, 2004, Marsh stated that it would discontinue the practice of receiving Contingent Fees. See
http://www. mmc.com.

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THE PARTIES
Plaintiff

9. Plaintiff, OLM Associates, Inc. is a corporation organized under the laws of
Delaware, with its principal place of business located at 470 Wall Street, in Princeton, New
Jersey 08540. Plaintiff obtained insurance during the Class Period through Marsh.
Defendants

10. Defendant MMC is a corporation organized under the laws of Delaware, with its
principal place of business located at 1166 Avenue of the Americas, New York, New York
10036, and provides insurance brokerage services.

11. Defendant Marsh Inc. is a corporation organized under the laws of Delaware, with
a place of business located at 300 Broadhollow Road, Suite 201, Melville, New York 11747.
Marsh Inc. is a subsidiary of MMC, and provides insurance brokerage services.

12. Defendant Marsh USA is a corporation organized under the laws of Delaware,
with a place of business located at 300 Broadhollow Road, Suite 201, Melville, New York
11747. Marsh USA is a subsidiary of MMC, and provides insurance brokerage services.

13. Defendant Marsh Advantage is a corporation organized under the laws of Idaho,
with a place of business located at 44 Whippany Road, Morristown, New Jersey 07962, Marsh
Advantage is a subsidiary of MMC, and provides insurance brokerage services.

JURISDICTION AND VENUE

14. This action is instituted under Sections 4 and 16 of the Act of Congress of
October 14, 1914, C. 323, 38 Stat. 731 (15 U.S.C. §§ 15 and 26), commonly known as the
Clayton Act, to recover damages and costs of suit, including reasonable attorneys’ fees, against

Marsh for the injuries sustained by Plaintiff and the members of the Class by reason of the

 
 

 

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violations, as hereinafter alleged, of Section | of the Act of Congress of July 2, 1890, C. 467, 26
Stat. 209 (15 U.S.C. § 1), commonly known as the Sherman Act.

15. This action is also instituted to secure injunctive relief against Defendants to
prevent them from further violations of Section 1 of the Sherman Act, as hereinafter alleged.

16. Additionally, this action is instituted pursuant to the Racketeer Influenced and
Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c) and (d).

17. This action is also instituted pursuant to the New Jersey Antitrust Act (N.J. Stat.
Ann. § 56:9-1, ef seq.), the Donnelly Act (N.Y. Gen. Bus. Law § 340, et seq.) and common law,

18. Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 133] and 1337 and by
Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

19. With respect to the claims set forth in Counts V through IX, this Court has
supplemental jurisdiction pursuant to 28 U.S.C, § 1367.

20. This Court has personal jurisdiction over Marsh because Marsh maintains offices,
has agents, transacts business or is found within this judicial district, the causes of action alleged
herein arose in part within this district, and Marsh inhabits or may be found in this district. The
interstate trade and commerce described herein is and has been cartied out in part within this
district.

21. Venue is laid in this district pursuant to Sections 4, 12 and 16 of the Clayton Act,
15 U.S.C, §§ 15, 22 and 26 and 28 U.S.C. § 1391(b) and (c).

THE RELEVANT MARKET

22. To the extent applicable to the claims alleged herein, the relevant market is the

market for insurance brokerage services.

23. ‘The relevant geographic market is the United States and its territories as a whole.

 
 

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24. During the Class Period, Marsh entered into agreements and engaged in conduct
which unreasonably restrained and continue to restrain trade in the relevant market and
geographic markets.

TRADE AND COMMERCE

25. At all relevant times, Marsh engaged in trade and commerce across state lines to
United States clients located outside the state of origin.

26, During the Class Period, in connection with the purchase of Marsh’s insurance
brokerage services, monies as well as contracts, bills and other forms of business
communications and transactions were transmitted across state lines and national boundaries.

27. During the Class Period, various means and devices were used to effect the
unlawful restraint of trade alleged herein, include the United States mail, interstate and foreign
travel, interstate and foreign telephone commerce and other forms of interstate and foreign
electronic communications. Marsh’s conduct, alleged herein, was and is within the flow of and
has substantially affected interstate commerce.

FACTS

 

A, Marsh Falsely Presents Itself As Its Clients’ Trusted Advisor And Representative

28. Marsh provides insurance brokering services for various types of clients,
including businesses, public entities, associations, professional services organizations, private
clients, and individuals and families.

29,  Marsh’s brokering services include recommending solutions to address its chents’
risk exposures and assisting its clients in procuring insurance.

30. In 2003, MMC’s total revenue was $11.6 billion, including over $5 billion from

insurance brokering services.

 

 

 
 

 

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31. Marsh holds itself out to the public and its clients as a highly-skilled insurance
brokering expert, with special knowledge, experience and expertise needed to understand and
analyze the risks faced by its clients and obtain the corresponding insurance products that best
suit its clients’ needs.

32. Marsh encourages its clients to retain it for its proffered special knowledge,
experience and expertise for assessing their risk exposures and in negotiating and procuring
insurance coverage.

33. Marsh also claims to have superior access to insurance carriers in the
marketplace.

34. Marsh’s insurance brokering services are intended to match its clients with
nsurance carriers $0 that its clients obtain the best insurance coverage at the lowest price.

35. In performing its msurance brokering services for its clients, Marsh enters into
agency relationships with them.

36. Marsh is the agent of its clients, and its clients are, in turn, Marsh’s principals.

37. As the agent of its clients, Marsh owes duties to act in its clients’ best interests; to
be loyal to their interests, to exercise good faith; not to act in a manner against their interests or
to gain at their expense; and to fully, clearly and completely disclose to its clients any conflict of
interest that Marsh has with them.

38. Marsh and its clients also enter into fiduciary relationships.

39. Marsh’s clients repose their trust and confidence in Marsh and its proffered and
actual superior knowledge, experience and expertise.

40. Marsh holds itself out to its clients as their advocate and trusted advisor who will

represent their interests in obtaining insurance policies.

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A]. Marsh encourages, fosters and maintains this fiduciary relationship with its
clients.

42. As the fiduciary of its clients, Marsh similarly owes duties to act in its clients’
best interests; to be loyal to their interests; to exercise good faith; not to act in a manner against
their interests or to gain at their expense; and to fully, clearly and completely disclose to its
clients any conflict of interest that Marsh has with them.

43. | Marsh emphasizes to its own clients that it works for them, not for insurance
carriers.

44. In a document created to assist employees in responding to client questions,
Marsh has written: “Our guiding principle is to consider our client's best interest in ail
placements, We are our clients’ advocates and we represent them in negotiations. We don’t
represent the [insurance companies].” NYAG Compl. { 19.

45. This purported “guiding principle” is prominent in Marsh’s marketing materials.

46. In Marsh’s “Response to RFP” for the Greenville County School District in South
Carolina -- where Marsh’s steering and bid manipulation were plainly evident - Marsh provided
a graphic titled, “Client Loyalty Pyramid.” The document states that its “approach to client
service begins with establishing credibility and trust...” Marsh also refers to itself in these
materials as Greenville County’s “trusted business partner” and “not simply an insurance agent.”
NYAG Compl. 7 19.

47, To the contrary, as demonstrated herein, Marsh’s “guiding principle” has been to
promote its own financial interests through its Contingent Fee Agreements and Bid Rigging

Scheme.

 

 

 
 

 

 

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B, Marsh’s Disclosure Of Its Contingent Fee Agreements Is False And Misleading

48. Marsh maintains Contingent Fee Agreements with certain carriers pursuant to
which the carriers pay Marsh Contingent Fees or Kickbacks as a reward for steering its clients’
business to them.

49. During the Class Period, Marsh profited from the Contingent Fee Agreements in
at least three ways: First, Marsh steered business to its favored insurance carriers with which it
had Contingent Fee Agreements and those insurance carers, in turn, paid Kickbacks to Marsh
for the increased volume of business. Second, if those carriers retained their existing business at
renewal time, they paid Marsh higher Contingent Fees for the renewals. Third, if Marsh steered
more profitable business (policies with low claims ratios) to those favored insurance carriers,
those carriers in turn paid Marsh higher Kickbacks for the profitable business.

50. While Marsh has disclosed the existence of Contingent Fee Agreements since at
least 1998, it has consistently concealed their true nature. Marsh describes Contingent Fee
Agreements (which Marsh now calls “Market Service Agreements” or “MS As”) to its clients and
the public as follows:

Market Services Agreements (MSAs) ate agreements that cover
payment for the value brokers provide to insurance carriers and are
based primarily on premium volume or growth, Brokers principally
provide insurers with distribution networks, which facilitate the
delivery of business, and are also uniquely positioned to provide
insurers with intellectual capital, product development, technology,
and other administrative and information services. These capabilities
make the overall marketplace more efficient and competitive, which,
in turn, benefits Marsh’s clients. [‘Market Service Agreements” at
www.msa marsh.com]

51. These “services” are illusory. The “distribution network” Marsh cites is not a

“service” but rather a necessary concomitant of Marsh going to the market on behalf of its

 

 

 
 

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clients, something that Marsh is duty bound to do as its clients’ agent and fiduciary — and for
which Marsh is compensated by legitimate fees and commissions from its clients.

52. The fact that Marsh’s clients ultimately buy insurance from the insurers creates no
additional “service” by Marsh to insurers. Certainly, the other vague “services” mentioned (such
as “intellectual capital”) do not justify any of the $800 million that Marsh received last year in
Contingent Fees.

53. In reality, the “service” that Marsh provides pursuant to its Contingent Fee
Agreements is to steer business to favored insurance carriers for its own benefit.

54. Contingent Fees have an enormous impact upon which insurance carrier Marsh
will choose to provide insurance to its client.

55. Marsh’s disclosure is silent as to the actual purpose and effect of its Contingent
Fee Agreements,

56. To the extent that Marsh has mentioned these Contingent Fee Agreements to
Class members, Marsh still failed and continues to fail to adequately disclose material facts to
them regarding the agreements and Marsh’s conflict-of-interest, including:

(a) the insurance carriers with which it had these agreements,

(b) how the amount of Marsh’s payments from those carriers would be calculated
pursuant to the agreements;

(c) the precise terms and conditions of Marsh’s agreements with insurance carriers;

(d) the amount of the fees that Marsh already received from insurance carriers for
placing their insurance;

(e) whether Marsh received or will receive extra fees from an insurance carrier in

connection with the sale of any particular insurance carrier,

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(f) that Marsh had and has incentive to recommend or obtain insurance coverage
based upon, in whole or part, whether the carrier would pay Marsh fees for doing
business with them;

(g) that Marsh had and has incentive to recommend or obtain insurance coverage for
them based upon, in whole or part, the amount of fees the carrier would pay it,

(h) that Marsh in fact recommended and procured insurance coverage from a specific
insurance carrier in order to receive fees from the carrier for their business;

(i) that Marsh in fact had received fees from the insurance carrier which it chose it to
provide insurance; and/or

(j) the amount of the fees that Marsh received from the insurance carrier.

Cc. Marsh’s Business Plan Has Been To Increase Its Contingent Fees By Steering Its
Clients To Favored Insurance Carriers

57. Beginning in the late 1990s, Marsh assumed greater control over the placement of
insurance, Marsh created an office in Manhattan that came to be called Marsh Global Broking,
which oversaw policy placement decisions in Marsh’s major business lines.

58. Marsh also began internally rating insurance companies based on the amount they
paid Marsh pursuant to their Contingent Fee Agreements.

59, Tn February 2002, a Marsh Global Broking managing director in the Healthcare
group provided nine of his colleagues with a list of the insurance companies that were paying
Marsh pursuant to Contingent Fee Agreements. He cautioned, however, that “Some [contingent
commission agreements] are better than others,” and said that soon Marsh would formally “tier”
the insurance companies. Then, he said, “T will give you clear direction on who [we] are steering

business to and who we are steering business from.” NYAG Compl. 33.

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60. Marsh circulated a “tiering report” to Marsh Global Broking executives, listing
insurance companies as belonging to tiers depending on how profitable the carriers’ Contingent
Fee Agreements were to Marsh.

61. Marsh also instructed its managers who received the list to “monitor premium
placements” to assure that Marsh obtained “maximum concentration with Tier A & B” insurance
companies, i.2., those with Contingent Fee Agreements most favorable to Marsh. NYAG
Compl. 734. For example, in a September 2003 e-mail, a Marsh Global Broking executive
stated: “We need to place our business in 2004 with those that have superior financials, broad
coverage and pay us the most.” NYAG Compl. { 34 (emphasis added).

62, As set forth in paragraphs 37 through 40 of the New York Attorney General’s
complaint against Marsh, dated October 14, 2004, Marsh (a) praised and rewarded its employees
for increasing business with favored carriers and admonished those employees who failed to do
so, and (b) expressly informed insurance carriers that participated in its Bid Rigging Scheme that
they would receive Marsh’s business over their competitors as long as they participated in the
Bid Rigging Scheme.

D. Marsh’s Bid Rigging Scheme

63. Marsh also secretly profited at the expense of its clients by engaging in an
elaborate Bid Rigging Scheme by which it artificially inflated bids for insurance for its clients or
concocted fake bidding wars (in which it designated a favored carrier as the winner) to increase
its Contingent Fees.

64. | While Marsh states that it is its client who makes the final decision on choosing
its insurance coverage, in many instances, their client is making a misinformed “final decision”

on insurance coverage,

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65. Asset forth below, Marsh has provided clients with false, inflated and rigged
price quotes.

66. Marsh designated a “winner” in the purported bidding process and then solicited
inflated bids from other insurance companies, who provided such bids, knowing that later they
themselves will have a turn to get business from Marsh without meaningful competition.

67, Examples of Marsh’s Bid Rigging Scheme are set forth below:

AIG

68. American International Group, Lne. (“ATG”) is a publicly traded company with
approximately $6,000 employees and over $81 billion in annual revenues. Among its insurance
lines is excess insurance which covers losses over and above the amounts covered by the
insured’s primary insurance policies.

69. Beginning in or around 2001 until at east the summer of 2004, Marsh Global
Broking’s Excess Casualty Group and AIG’s American Home Excess Casualty division (AIG's
principal provider of commercial umbrella or excess liability and excess wortker’s compensations
insurance) engaged in systematic bid manipulation,

70. If ATG was an incumbent carrier and its policy was up for renewal, Marsh
solicited what was called an “A Quote” from AIG, whereby Marsh provided AIG with a target
premium and the policy terms for the quote.

71. If AIG agreed to quote the target provided by Marsh, AIG kept the business,
regardless of whether it could have quoted more favorable terms or premiums.

72.‘ [fanother carrier was the incumbent, Marsh requested AIG to submit what was
variously referred to as a “backup quote,” “protective quote” or “B Quote,” telling AIG that it

would not get the business.

 
 

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73, Marsh also provided AIG with a target premium and the policy terms for the
quotes.

74. _ AlG understood that the target premium set by Marsh was higher than the quote
provided by the incumbent, and that ATG should not bid below the Marsh-supplied target.

75 In October 2003, an underwriter at AIG described a particular quote that he had
provided as follows: “This was not a real opportunity. Incumbent Zurich did what they needed
to at renewal. We were just there in case they defaulted. Broker... said Zurich came in around
$750K & wanted us to quote $900K.” NYAG Compl { 46.

76. Even when AIG could have quoted a premium that was lower than the target, it
rarely did so. Instead, AIG provided a quote that was consistent with the target premium set by
Marsh, thereby rigging the bid.

77. Marsh also asked AIG to provide B Quotes when AIG was not supposed to get
the business, but Marsh did not set a particular target.

78. In B Quote situations, AIG considered the expiring policy terms and premium and
provided a quote high enough to ensure that (a) the quote would not be a winner, and (b) in the
rare case where AIG did get the business, it would make a comfortable profit.

79. In B Quote situations, AIG also did not do a complete underwriting analysis.

80. If AlG inadvertently won B Quote business (because the incumbent was not able
or willing to meet Marsh’s target), AIG personnel would “back fill” the underwriting work on
the file — that is, prepare the necessary analysis after the fact.

81. Finally, Marsh came to AIG for a “C Quote”, when there was no incumbent
carrier to protect. Although Marsh often provided premium targets in these business situations, it

was understood that there was the possibility of real competition.

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82. Marsh strictly enforced its A, B and C Quote System.

83. Marsh refused to allow ALG to put in competitive quotes in B Quote situations
and threatened AIG that AIG would lose its entire book of business with Marsh if it did not
provide B Quotes.

84. As one Marsh executive has stated: Marsh “protected AIG’s ass” when it was the
incumbent carrier, and it expected AIG to help Marsh “protect” other incumbents by providing B
Quotes. NYAG Compl. 50.

ACE

85. ACE Ltd. is a Bermuda corporation that trades on the New York Stock Exchange.
ACE USA (“ACE”) is part of a group of subsidiaries that forms the ACE Insurance North
America business division of ACE Ltd.
86. In 2002, ACE decided to enter the excess casualty market by creating a separate
division, called the Casualty Risk Department.
87. ACE signed a Contingent Fee Agreement to gain access to the business Marsh
controlled.
88. ACE also repeatedly provided the same type of B Quotes that AIG provided.
89. The B Quotes that ACE gave to Marsh were often in prices requested by Marsh,
even though a lower quote would have been justified by an underwriting analysis.
90. As ACE's President of Casualty Risk summarized:
Marsh is consistently asking us to provide what they refer to as “B”
quotes for a tisk. They openly acknowledge we will not bind these
“B” quotes in the layers we are be [sic] asked to quote but that they
‘will work us into the program’ at another attachment point. So for
example if we are asked for a “B” quote for a lead umbrella then they
provide us with pricing targets for that “B” quote. It has been

inferred that the ‘pricing targets’ provided are designed to ensure
underwriters ‘do not do anything stupid’ as respects pricing.

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NYAG Compl. 9 52. In this same e-mail, the ACE executive wrote that he “support[ed]”
Marsh’s business model, which he described as “unique.” NYAG Compl. {[ 52.

91. The operation of Marsh’s Bid Rigging Scheme is exemplified by a bid for the
insurance business of Fortune Brands, Inc. (“Fortune”). On December 17, 2002, an ACE
underwriting executive sent a facsimile to a Marsh executive, quoting an annual premium of
$990,000 for a policy for Fortune. NYAG Compl. 753. Later that day, ACE raised its bid to
$1,100,000. On the facsimile cover sheet with the revised bid, the ACE’s executive wrote: “Per
our conversation attached is revised confirmation. All terms & conditions remain unchanged.”
NYAG Compl. 7 53.

92. In ane-mail later that day, the ACE executive explained the bid revision to
another ACE executive as follows: “Original quote $990,000.... We were more competitive
than AlG in price and terms. MMGB requested we increase to $1.1M to be less competitive, 50
AIG does not loose [sic] the business...” NYAG Compl. { 53.

93. Marsh lured insurance carriers into its Bid Rigging Scheme with financial
rewards.

94. Asa Marsh executive wrote itt a June 20, 2003 e-mail to the same ACE executive:
“Currently, we have about $6M in new business [with ACE] which is the best in Marsh Global
Broking so 1 do not want to hear you are not doing ‘B’ quotes or we will not bind anything.”
NYAG Compl. ¥ 54.

95. The bidding process for insurance for another company, Brambles, USA

(“Brambles”), further demonstrates Marsh’s Bid Rigging Scheme.

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96. In June of 2003, ACE learned that Brambles was unhappy with AiG, the carrier
that was presently providing it insurance. Marsh demanded ACE to refrain from submitting a
competitive bid because Marsh wanted the incumbent, AIG, to keep the business.

97, An ACE underwriting executive wrote to the ACE President of Risk and Casualty

as follows:

Our rating has a risk at $890,000 and 1] advised MMGB NY that we
could get to $850,000 if needed. Doherty [a Marsh executive] gave
mea song & dance that game plan is for AIG at $850,000 and to not
commit our ability in writing,
NYAG Compl. 7 55.
98. ACE continued to provide Marsh with inflated quotes into 2004,

Hartford

99, Marsh did not limit its Bid Rigging Scheme practices to its large corporate chents.

100. Marsh also engaged in its Bid Rigging Scheme with The Hartford Financial
Services Group (“Hartford”) - a provider of life group benefits, auto, home ownership and
business insurance — with respect to Marsh’s “Middle Market” and small business clients.
NYAG Compl. 7 58.

101. During 2003 and 2004, Marsh employees demanded two Hartford underwriters
assigned to provide an inflated quote or “indication” (non-binding proposed price) for insurance
coverage for a small business. NYAG Compl. { 59.

102. Marsh instructed Hartford’s underwriters to price the quote or indication 25%
above a particular number, and that by doing so, Hartford need not worry that it would get the
business.

103. Beginning at least in 2000, Marsh demanded Hartford to provide inflated quotes

or indications in a manner similar to the process described above. NYAG Compl. { 60.

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104. Marsh also provided Hartford with a spreadsheet showing the accounts for which
it wanted Hartford to provide a losing quote or indication, along with other msurers’ quotes.

105, Marsh instructed Hartford to quote some percentage, typically 25%, above the
other insurers’ quotes on the spreadsheet to ensure that Hartford would not get the business,
These quotes were referred to as “Throwaway Quotes.” NYAG Compl. { 60.

E. Plaintiff And The Class Retained Marsh As Their Insurance Broker

106. During the Class Period, Plaintiff and the Class retained Marsh as its insurance
broker.

107. Plaintiff and each of the other members of the Class were Marsh's clients.

108. Plaintiff and the other Class members expected Marsh to research the market
fully, provide unbiased advice regarding their risk exposures, present a range of insurance
options based on impartial and objective analysis, and to negotiate on their behalf and obtain for
them insurance coverage that best met their needs in terms of scope and cost.

109. As Plaintiff and the Class members’ broker, Marsh was obligated to research the
market fully, provide unbiased advice regarding their risk exposures, present a range of
insurance options based on impartial and objective analysis, and to negotiate on their behalf and
obtain for them insurance coverage that best met their needs in terms of scope and cost.

110. Marsh failed to adequately disclose to Plaintiff and the other Class members its
Contingent Fee Agreements and did not disclose its Bid Rigging Scheme.

111. Marsh failed to provide the Class with impartial guidance regarding their risk
exposures and impartial recommendations for their insurance options.

112. Marsh provided biased advice that was based on its own desire to obtain and

maximize its Contingent Fees.

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113, Marsh guided Plaintiff and the Class members to obtain insurance from insurance
carriers with which Marsh had Contingent Fee Agreements and/or which participated in Marsh’s
Bid Rigging Scheme so that Marsh could earn extra profits for the placement, regardless of
whether the insurance provided Plaintiff and the other Class members the best coverage at the
lowest cost.

TOLLING OF STATUTE OF LIMITATIONS

114. Marsh has affirmatively and fraudulently concealed its unlawful scheme and
course of conduct from Plaintiff and the Class.

115, Plaintiff had no knowledge of Marsh’s fraudulent scheme and could not have
discovered that Marsh’s representations were false, or that Marsh had concealed information and
materials, until shortly before the filing of this Complaint. Additionally, Marsh’s unlawful
activity was of a self-concealing nature.

116. Accordingly, the statute of limitations has been tolled with respect to any claims
which Plaintiff has brought as a result of the unlawful and fraudulent conduct alleged herein.

CLASS ACTION ALLEGATIONS
117. This suit is brought as a class action pursuant to Rule 23 of the Federal Rules of

Civil Procedure, on behalf of a Class, consisting of:

All entities and persons (excluding defendants and their parents, subsidiaries,
affiliates, officers, directors, agents and co-conspirators) which retained
Marsh as their insurance broker during the period commencing six years
from the filing of this complaint to the present (the “Class Period”).

118, The Class is so numerous that joinder of its members is impracticable.
119. The exact number of Class members is unknown to Plaintiff at this time and can

only be ascertained through appropriate discovery.

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120. Based upon the nature of the trade and commerce involved and Plaintiff s
knowledge of Marsh’s brokerage business, Plaintiff and the Class members are geographically
dispersed throughout the United States.

121. The Class is ascertainable in that the names and addresses of all Class members
can be identified in business records maintained by Marsh.

122. There are numerous questions of law and fact that are common to the claims of all
Class members as set forth above, including:

(a) whether Marsh agreed to represent the best interests of its chents in
connection with insurance brokerage services,

(b) whether Marsh represented and marketed itself'as representing the best
interests of its clients in connection with insurance brokerage services,

(c) whether Marsh contracted to receive Contingent Fees from insurers based on
the volume of business Marsh steered to those insurers, the number of renewals those insurers
had, and/or the profitability of the business Marsh steered to those insurers,

(d) whether the Contingent Fees/Kickbacks created conflicts of interests for
Marsh that gave Marsh a compelling disincentive to fulfill its duties to Plaintiff and the Class;

(e) whether Marsh failed to adequately disclose the Contingent Fee Agreements
and/or their amount, extent, and impact upon Marsh’s ability to fulfill their duties to Plaintiff and
the Class;

(f) whether Marsh breached its duties of loyalty to Plaintiff and the Class as their
agent,

(g) whether Marsh breached its fiduciary duties to Plaintiff and the Class,

(h) whether Marsh was unjustly enriched at the expense of Plaintiff and the Class;

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(i) whether Marsh’s Bid Rigging Scheme and other unlawful conduct violated
Section 1 of the Sherman Act;

(j) whether Marsh’s Bid Rigging Scheme and other unlawful conduct violated
RICO;

(k) whether Marsh’s Bid Rigging Scheme and other unlawful conduct violated the
New Jersey Antitrust Act,

(i) whether Marsh’s Bid Rigging Scheme and other unlawful conduct violated the
Donnelly Act;

(m)whether Plaintiff and the Class are entitled to injunctive, declaratory, and/or
other equitable relief;

(n) whether Plaintiff and the Class are entitled to damages and if so, what
amount;

(o) whether Marsh must make an accounting of all ill-gotten gains, monies and
profits wrongfully derived from its unlawful conduct described in this Complaint, and

(p) whether Marsh must pay restitution for and disgorge all ill-gotten gains,
monies and profits wrongfully derived from its unlawful conduct described in this Complaint.

123. The claims of Plaintiff are typical of those of the Class it represents.

124. The claims of Plaintiff and the Class members have a common origin and share a
common basis. Their claims originate from the same unlawful and anti-competitive conduct on
the part of Marsh.

125. Plaintiff states claims for which relief may be granted that are typical of those of

the absent Class members, If brought and prosecuted individually, the claims of each Class

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133. Marsh’s unlawful scheme to obtain Contingent Fees and profit from its Bid
Rigging Scheme creates an ongoing problem that will continue to cause Plaintiff and the
members of the Class economic losses and threaten their ability to obtain appropriate insurance
coverage at a fair price.

134. A monetary judgment in this case will only compensate Plaintiff and members of
the Class for past losses. A monetary judgment will not cure the inherent and irreconcilable
conflict of interest between Marsh and its clients, created by the Contingent Fees and Bid
Rigging Scheme, as set forth above.

135. Marsh’s Contingent Fee Agreements and the Bid Rigging Scheme constitute
contracts, combinations or conspiracies that unfairly fix, peg, or rig the prices of insurance
policies in per se violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §1, and also
constitute an unreasonable restraint of trade under a rule of reason analysis in violation of said
statute.

136, Marsh’s Contingent Fee Agreements and the Bid Rigging Scheme constitute
contracts, combinations or conspiracies that unfairly restrain trade in the market for the purchase
of insurance policies in per se violation of Section ! of the Sherman Antitrust Act, 15 U.S.C. §},
and also constitute an unreasonable restraint of trade under a rule of reason analysis in violation
of said statute.

137. Marsh's overall conduct, described above, also constitutes a contract, combination
or conspiracy to unfairly fix, peg, or ng the prices of insurance policies and/or unreasonably
restrain trade in per se violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §1, and
algo constitute an unreasonable restraint of trade under a rule of reason analysis in violation of

said statute.

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member would require proof of the same material and substantive facts, rely upon the same
remedial theories, and seek the same relief.

126. Plaintiff's claims are sufficiently aligned with the interests of the absent members
of the Class to ensure that the universal claims of the Class will be prosecuted with diligence and
care by Plaintiff as representative of the Class.

127, Plaintiff will fairly and adequately protect the interests of the Class and have no
interests adverse to or which directly and irrevocably conflict with the interests of other members
of the Class.

128. Plaintiff is willing and prepared to serve the Court and proposed Class in a
representative capacity with all of the obligations and duties material thereto.

129. Plaintiff has retained the services of counsel indicated below. Such counsel are
experienced in complex class-action litigation, will adequately prosecute this action, and will
assert, protect, and otherwise represent Plaintiff and all absent Class members.

130, Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) in that Marsh has
acted or refused to act on grounds generally applicable to the Class, maki ng final declaratory or
injunctive relief appropnate.

131, Class certification is appropriate under Fed. R. Civ. P. 23(6)(3) in that the
questions of law and fact that are common to members of the Class predominate over any
questions affecting only individual members.

COUNT I
PERMANENT INJUNCTION PURSUANT
TO SECTION 1 OF THE SHERMAN ACT
132. Plaintiff repeats and realleges the preceding allegations of the Complaint as if

fully set forth herein.

 
 

 

 

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138. Plaintiff and the Class have no adequate remedy at law.
139. By virtue of the foregoing, Marsh must be permanently enjoined from

participating in the Contingent Fee Agreements and the Bid Rigging Scheme, as described

 

 

above.
COUNT Il
VIOLATION OF SECTION 1 OF THE SHERMAN ACT
140, Plaintiff repeats and realleges the preceding allegations of the Complaint as if
fully set forth herein.

141, Marsh’s Contingent Fee Agreements and the Bid Rigging Scheme constitute
contracts, combinations or conspiracies to unfairly fix, peg, or rig the prices of insurance policies
in per s¢ violation of Section | of the Sherman Antitrust Act, 15 U.S.C. §1, and also constitute
an unreasonable restraint of trade under a rule of reason analysis in violation of said statute.

142. Marsh’s Contingent Fee Agreements and the Bid Rigging Scheme constitute
contracts, combinations or conspiracies that unfairly restrain trade in the market for the purchase
of insurance policies in per se violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §1,
and also constitute an unreasonable restraint of trade under a rule of reason analysis in violation
of said statute.

143. Marsh’s overall conduct, described above, also constitutes a contract, combination
or conspiracy to unfairly fix, peg, or rig the prices of insurance policies and/or unreasonably
restrain trade in per se violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. §1, and
also constitute an unreasonable restraint of trade under a tule of reason analysis in violation of
said statute.

144. Asa direct and proximate result of Marsh’s conduct as described above, Plaintiff

and the Class have been injured in their business and property and suffered damages.

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145. By virtue of the foregoing, Plaintiff and the Class should be awarded damages in
an amount to be determined at trial, trebled by virtue of the Clayton Act.

COUNT Ill
VIOLATION OF 18 U,5.C. § 1962(c)

146. Plaintiff repeats and realleges the preceding allegations of the Complaint as if
fully set forth herein.
147. Plaintiff, the Class members and defendants are “persons” within the meaning of
18 U.S.C. § 1961(3).
148. Upon information and belief, the following group of persons constitutes an
assaciation-in-fact enterprise, hereinafter “Marsh Enterprise” (or “Enterprise”):
(a) Marsh; and
(b) AIG, ACE, Hartford and other insurers not named as defendants in this Complaint
that participate in the Bid Rigging Scheme and the payment of Contingent Fees.
149, The Enterprise is an ongoing organization which engages in, and whose activities
affect, interstate commerce.
150, While Marsh participates in and is a member of the Enterprise, it also has an
existence separate and distinct from the Enterprise.
151. Toestablish and maintain the Bid Rigging Scheme and the payment of Contingent
Fees, while concealing the system and the inherent conflict of interests it creates with its clients,
including Plaintiff and the members of the Class, Marsh was required to participate in the
conduct of and exercise control over the Enterprise.
152. Marsh has participated in the conduct of, and controlled and operated the

Enterprise as follows:

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(a) by sharing and disseminating information regarding client contracting and client
communications, insurance placement strategies, and relationships with insurers
among other things;

(b) by repeatedly recommending insurance products of the insurer participants in the
Enterprise; and

(c) by developing artificial competitive bidding processes.

153. Asset forth above, the Enterprise has an ascertainable structure separate and apart
from the pattern of racketeering activity in which Marsh has engaged.

154, Section 1961(1) of RICO provides that “racketeering activity” includes any act
indictable under 18 U.S.C. § 1341 (relating to mail fraud) or 18 U.S.C. § 1343 (relating to wire
fraud). As set forth below, Marsh has engaged in and continues to engage in conduct violating
each of these laws in order to effectuate the Contingent Fee Agreements, Bid Ri going Scheme
and other alleged unlawful activity.

155. In addition, in order to make the Bid Rigging Scheme and Contingent Fee
Agreements effective, Marsh sought to and did aid and abet the others in violating the above
laws within the meaning of 18 U.S.C. § 2, which conduct is also indictable under 18 T.8.C. §§
1341 and 1343.

156. To carry out or attempt to carry out its scheme to defraud or obtain money by
means of false pretenses, representations or promises, Marsh, in violation of 18 U.S.C. § 1341,
placed in post offices and/or official depositories of the United States Postal Service matter and
things to be delivered by the Postal Service, caused matter and things to be delivered by
commercial interstate carrier, and received matter and things from the Postal Service or

commercial interstate cartiers, including but not limited to agreements, correspondence, policy

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materials, binders, fee schedules, payments from clients and insurers that constituted the fruits of
Marsh’s wrongful conduct, claims, responses to claims, and coverage letters.

157. To carry out or attempt to carry out its scheme to defraud or obtain money by
means of false pretenses, representations or promises, Marsh, in violation of 18 U.S.C, § 1343,
transmitted and received by wire, matter and things including but not limited to agreements,
correspondence, policy materials, binders, fee schedules, payments from clients and insurers that
constituted the fruits of Marsh’s wrongful conduct, claims, responses to claims, and coverage
letters.

158. The matter and things sent by Marsh via the Postal Service, commercial cartier,
wire or other interstate electronic media include, among other things:

(a) materials containing false and fraudulent misrepresentations that Marsh would
represent its clients’ interests in the placement of insurance on behalf of Plaintiff
and members of the Class;

(b) materials that concealed or failed to disclose the existence and effect of the Bid
Rigging Scheme and payment of Contingent Fees, including the conflict of
snterests that Marsh had created between its legal and contractual obligations to
its clients and the economic disincentives to honor those obligations from the Bid
Rigging Scheme;

(c) materials intended to induce clients to accept more expensive and lesser coverage
from the insurers participating in the Enterprise than might otherwise be available
in order to maximize premium revenue and to maximize Contingent Fees; and

(d) materials intended to discourage clients from the ageressive pursuit of claims.

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159, Marsh’s misrepresentations, acts of concealment and failures to disclose were
knowing and intentional, and made for the purpose of deceiving Plaintiff and members of the
Class and assuring insurers participating in the Enterprise of the placement of business and
enabling Marsh to collect Contingent Fees. Specifically, these misrepresentations, acts of
concealment, and failures to disclose include but are not limited to:

(a) Marsh holding itself out as a trusted advisor that can help clients assess their
surance needs and locate the best available insurance while in fact participating
in self dealing, conspiratorial activities aimed at maximizing profits at the
expense of its clientele;

(b) Marsh’s representations that it works for its clients and not insurance companies,

(c) failing to disclose that an integral part of Marsh’s business philosophy is to
promote the interest of insurance companies in order to maximize revenue from
Contingent Fee Agreements. Therefore, Marsh steers business to favored
insurance companies from whom they receive higher fees,

(d) failing to disclose the nature of the services that Marsh provides in order to
warrant its commissions;

(e) failing to disclose that Marsh is directing its clients to insurance companies based
not on their merit, but rather on the web of kickbacks and contingent commissions
they are able to structure; and

(f) contriving, falsifying and/or manipulating insurance bids to create the illusion of a

competitive bidding process.

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160, Marsh either knew or recklessly disregarded the fact that the tmisrepresentations
and omissions described above were material, and Plaintiff and members of the Class relied on
the misrepresentations and omissions as set forth above.

161. Asaresult, Plaintiff and members of the Class have been injured in their business
or property by Marsh’s overt acts of mail and wire fraud and by its aiding and abetting other
Enterprise members’ acts of mail and wire fraud in furtherance of the aforesaid racketeering
conspiracy.

162. Marsh has engaged in a “pattern of racketeering activity,” as defined in 18 U.S.C.
§ 1961(5), by committing or aiding and abetting in the commission of at least two acts of
racketeering activity (7.¢., indictable violations of 18 U.S.C. §§ 1341 and 1343 as described
above) within the past ten years.

163, {n fact, Marsh has committed or aided and abetted in the commission of thousands
of acts of racketeering activity.

164. Bach act of racketeering activity was related, had a similar purpose, invalved the
same or similar participants and method of commission, had similar results, and impacted similar
victims, including Plaintiff and members of the Class.

165. The multiple acts of racketeering activity, which Marsh committed and/or
conspired to commit or aided and abetted the commission of, were related to each other in
furtherance of the scheme described above, amount to and pose a threat of continued
racketeering activity, and therefore constitute a “pattern of racketeering activity” as described in
18 U.S.C. § 1961(5).

166. Section 1962(c) of RICO provides that “it shall be unlawful for any person

employed by or associated with any enterprise engaged in, or the activities of which affect,

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interstate or foreign commerce, to conduct or participate, directly or indirectly, in the conduct of
such enterprise’s affairs through a pattern of racketeering activity.....”

167. By reason of the foregoing, Marsh has conducted or participated in the conduct of
the affairs of the Enterprise in violation of § 1962(c).

COUNT IV
VIOLATION OF 18 U.S.C. § 1962(d)

168, Plaintiff repeats and realleges the preceding allegations of this Complaint as if
fully set forth herein.

169. Section 1962(d) of RICO makes it unlawful “for any person to conspire to violate
any of the provisions of subsection (a), (b), or (c) of this section.”

170, By reason of the foregoing, Marsh has conspired to conduct or participate in the
conduct of the Enterprise’s affairs in violation of § 1962(d).

COUNT V
VIOLATION OF THE NEW JERSEY ANTITRUST ACT

(New Jersey Stat, Ann. § 56:9-1, et seq.)

171, Plaintiff repeats and realleges the preceding allegations of the Complaint as if
fully set forth herein.

172. Marsh’s acts are a per se violation of the New Jersey Antitrust Act.

173. Alternatively, Marsh’s acts violate the New Jersey Antitrust Act under a rule of
reason analysis.

174, Asa direct and proximate result of Marsh’s wrongful conduct, Plaintiff and the
other members of the Class have been injured in their business and property and suffered
damages.

175. By virtue of the foregoing, Plaintiff and the Class should be awarded damages in

an amount to be determined at trial.

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COUNT VI
VIOLATION OF THE DONNELLY ACT

(New York Gen. Bus. Law § 340, et seg.)

176. Plaintiff repeats and reaileges the preceding allegations of the Complaint as if
fully set forth herein.

177, Marsh’s acts are a per se violation of the Donnelly Act.

178, Alternatively, Marsh’s acts violate the Donnelly Act under a rule of reason
analysis.

179. Asa direct and proximate result of Marsh’s wrongful conduct, Plaintiff and the
other members of the Class have been injured in their business and property and suffered
damages.

180. By virtue of the foregoing, Plaintiff and the Class should be awarded damages in
an amount to be determined at tral,

COUNT VII
BREACH OF AGENT’S DUTY OF LOYALTY

181. Plaintiff repeats and realleges the preceding allegations of the Complaint as if
fully set forth herein.

182. Plaintiff and the Class requested Marsh to act on their behalf and negotiate for and
obtain insurance for them, and Marsh agreed and manifested its consent to them.

183. Marsh entered into agency relationships with Plaintiff and each of the other Class
members.

184, By its acts, practices and conduct described n this Complaint, Marsh breached its

duties of loyalty to Plaintiff and each of the members of the Class.

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185. Asa direct and proximate result of Marsh’s wrongful conduct, Plaintiff and the
other members of the Class have been injured in their business and property and suffered
damages.

186. By virtue of the foregoing, Plaintiff and the Class should be awarded damages in
an amount to be determined at trial.

COUNT VII
BREACH OF FIDUCIARY DUTY

BREACH GE PIDYATAR a

187. Plaintiff repeats and realleges the preceding allegations of the Complaint as if
fully set forth herein.

188. Marsh owed fiduciary duties to Plaintiff and each of the other Class members.

189. By its acts, practices and conduct described in this Complaint, Marsh breached its
fiduciary duties to Plaintiff and each of the other Class members.

190, Asa direct and proximate result of Marsh’s wrongful conduct, Plaintiff and the
other members of the Class have been injured in their business and property and suffered
damages.

191. By virtue of the foregoing, Plaintiff and the Class should be awarded damages in

an amount to be determined at trial.

COUNT 1X
UNJUST ENRICHMENT

192. Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

193. Plaintiff and the other Class members have conferred a financial benefit upon
Marsh as a result of their purchasing of Marsh’s insurance brokering services. This benefit not
only consists of the fees that they paid to Marsh for its services, but also the additional

Contingent Fees and other profits that Marsh was able to receive (a) from insurance carriers with

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which Marsh had Contingent Fee Agreements; and (b) by the Bid Rigging Scheme Marsh
engaged in, as set forth above.

194. Marsh has been financially enriched by the brokerage fees it received from
Plaintiff and the other Class members and the Contingent Fees for providing those carriers’
insurance to Plaintiff and the other Class members.

195. Marsh obtained this financial enrichment to the detriment of and at the expense to
Plaintiff and the Class. Among other things, Plaintiff and the other Class members have paid
more for insurance coverage than they would have otherwise had to pay and/or received less
and/or inappropriate insurance coverage.

196. It would be against equity and good conscience to allow Marsh to retain payments
and proceeds that it derived and received, indirectly or directly, from the unlawiul or inequitable
acts, practices or conduct described in this Complaint.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of the Class, prays for relief as follows:

(a) that the Court adjudicate and decree the instant action as a class action
under Rule 23(b)(2) and (b)(3) of the Federal Rules of Civil Procedure;

(b) that the Court enter judgment against Marsh, and in favor of Plaintiff and
the Class on each of the causes of action asserted in this Complaint,

(c) that the Court issue a permanent injunction, enjoining and restraining
Marsh and its subsidiaries, affiliates, representatives and agents from
engaging in the unlawful conduct set forth herein;

(d) that the Court award Plaintiff and the Class the compensatory damages

determined to have been sustained by them,

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(e)

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that the Court award Plaintiff and the Class trebled damages pursuant to
Section 4 of the Clayton Act and Section 1964(c) of the RICO statute;
that the Court award Plaintiff and the Class attorneys’ fees, expert fees,
and costs,

that the Court direct and adjudge Marsh to engage in an accounting of its
ill-gotten gains derived from its conduct as set forth in this Complaint,
that the Court direct Marsh to pay restitution for and to disgorge to
Plaintiff and the Class all unlawfully or inequitably obtained monies and
profits derived from its unlawful, fraudulent, and inequitable conduct that
has damaged Plaintiff and the Class, as set forth in this Complaint; and
that the Court award Plaintiff and the Class such other and further relief as
it shall deem just and appropriate.

JURY DEMAND

Plaintiff and the Class respectfully demand a trial by jury of all claims so triable.

Dated: Newark, New Jersey

October 22, 2004

  
  

LITE DEPA RG & RIVAS, LLC

By:

 

Allyn Z (Lite (AL-6774)
Michael E. Patunas (MP-2306)
Two Gateway Center 12th Floor
Newark, NJ 07102

Telephone: (973) 623-3000
Fax: (973) 623-0211

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Bernard Persky (BP 1072)

Hollis L. Salzman (HS 5994)

GOODKIND LABATON RUDOFF
& SUCHAROW LLP

100 Park Avenue

New York, New York 10017-5363

Telephone: (212) 907-0700

Fax: (212) 818-0477

L. Kendall Satterfield

Halley F. Ascher

FINKELSTEIN, THOMPSON &
LOUGHRAN

1050 30th Street N.W.

Washington, D.C. 20007

Telephone: (202) 337-8000

Fax: (202) 337-8090

Attorneys for Plaintiff

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